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IS 44 (Rey 09/19) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law. except as
provided by focal rules of court, This form, approved by the Judicial Conference of the United Suites in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SHH INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS
Evans, William O. Jr, as Trustee for the Heirs and Next-of-Kin for See attachment
Benjamin Evans
(b) County of Residence of First Listed Plaintiff St. Charles County MO County of Residence of First Listed Defendant _ St. Croix County WI
(EXCEPT IN U.S. PLAINTIFE CASES) CIN US. PLAINTIFF EF CASES ONLY)

NOTE. INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED

(c) Attorneys (Hirm Name, Address, and Telephone Number) Attorneys (if Known)
Sandberg Law Firm Jardine, Logan, O'Brien- Joseph Flynn
4057 28th Street NW, Suite 300 8519 Eagle Point Blvd. Suite 100
Rochester MN 55801 Lake Elmo MN 55042
Il. BASIS OF JURISDICTION (Piace an “¥" mn One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “Xin One Box for Plantiff
(or Diversity Cases Only) and One Box for Defendant)
G1 US Govemment 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 01 (K 1 Incorporated or Principal Place Oo4 (&4
of Business In This State
G2 US. Government O 4 Diversity Citizen of Another State (K2 OQ 2 Incorporated and Principal Place aos O85
Defendant (Indicate Citizenship of Parties in Hem Hl) of Business In Another State
Citizen or Subject of a o3 O 3. Foreign Nation o6 Oe
Foren Country
[V. NATURE OF SUIT ¢Htuee an “x” in One Box Guiy) Click here for: Nature ol Suit Code Descriptions
| CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
1 110 Insurance PERSONAL INJURY PERSONAL INJURY = |) 625 Drug Related Seizure C422 Appeal 28 USC 158 0 375 False Claims Act
120 Marine O 310 Airplane O} 365 Petsonal Injury - of Property 21 USC 881 |0 423 Withdrawal O 376 Qui Tam (3! USC
O 130 Miller Act 0 315 Airplane Product Product Liability 0 690 Other 28 USC 157 372%a))
1 140 Negotiable Instrument Liability O 367 Health Care/ O 400 State Reapportionment
0 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgitient Slander Personal Injury C1 820 Copyrights C1 430 Banks and Banking
1 151 Medicare Act O 330 Federal Employers’ Product Liability 1 830 Patent 450 Commerce
C1 152 Recovery of Defaulted Liability 0 368 Asbestos Personal O81 835 Patent - Abbreviated 0 460 Deportation
Student Loans CO 340 Marine Injury Product New Drug Application |0) 470 Racketeer Influenced and
(Excludes Veterans) C345 Marine Product Liability 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCTAL SECURITY QO 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle QO 370 Other Fraud © 710 Fair Labor Standards O 861 HTA (1395ff) (15 USC 1681 or 1692)
1 160 Stockholders’ Suits 0 355 Motor Vehicle 0 371 Truth in Lending Act O 862 Black Lung (923) OC) 485 Telephone Consumer
© 190 Other Contact Product Liability 1 380 Other Personal O} 720 Labor/Management O 863 DIWC/DIWW (405(g)) Protection Act
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI OG 490 Cable/Sat TV
C196 Franchise Injury C1 385 Property Damage 0 740 Railway Labor Act C1 865 RSI (405(g)) O 850 Securities/‘Commodities/
OF 362 Personal Injury - Product Liability 0 751 Family and Medical Exchange
_Medical Malpractice Leave Act __ 1 890 Other Statutory Actions
l REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS [0 790 Other Labor Litigation FEDERAL TAX SUITS © 891 Agricultural Acts
O 210 Land Condemnation & 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 01 870 Taxes (U.S. Plaintiff CG 893 Environmental Matters
220 Foreclosure O 441 Voting O 463 Alien Detainee Income Security Act or Defendant) GO 895 Freedom of Information
C1 230 Rent Lease & Ejectment 0 442 Employment 1 510 Motions to Vacate CG 871 IRS—Third Party Act
OG 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 0 896 Arbitration
O 245 Tort Product Liability Accommodations O 530 General / O 899 Administrative Procedure
O 290 All Other Real Property OF 445 Amer. w/Disabilities -] 1 535 Death Penalty IMMIGRATION Act/Review or Appeal of
Employment Other: C1 462 Naturalization Application Agency Decision
© 446 Amer. w/Disabilities - | 540 Mandamus & Other |(1 465 Other Immigration C1 950 Constitutionality of
Other OF 550 Civil Rights Actions State Statutes
0 448 Education 0 555 Prison Condition
CO 560 Civil Detainee -
Conditions of
Confinement
Vv. ORIGIN (Place an “X” in One Box Only)
wa Original 2 Removed trom Ol 3 Remanded from O 4 Reinstatedor O 5 Transferred from © 6 Multidistrict 0 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File
Cite the US. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

42 U.S.C. section 1983

Brief description_of cause: ‘ . .
Washington County Sheriff's Deputy Krook used excessive and deadly force causing the death of Benjamin Evans

VI. CAUSE OF ACTION

VII. REQUESTED IN 1 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23. F.R.Cv.P JURY DEMAND: ML Yes ONo
VIII. RELATED CASE(S) .
‘See instructions):
IF ANY ( me JUDGE DOCKET NUMBER

DATE iA|4|a020 (POWs ee

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
CASE 0:20-cv-02474-MJD-ECW Doc.1-4_ Filed 12/04/20 Page 2 of2

Attachment to Civil Cover Sheet
Defendants:

Krook, Brian Jeffery, individually and in his official capacity as a Deputy for Washington
County Sheriff's Office

Folendorf, Michelle, individually and in her official capacity at a Sergeant for Washington
County Sheriff's Office

Ramirez, Joshua John, individually and in his official capacity as a Deputy for Washington
County Sheriff's Office

Ramos, Michael, individually and in his official capacity as a Deputy for Washington County
Sheriff's Office

Starry, Dan, individually and in his official capacity as Washington County Sheriff and
policymaker

Washington County as a political subdivision of the State of Minnesota
